        CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 1 of 6




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


BRANDON EHLIS, on behalf of himself               Case No. 20‐CV‐1872 (PJS/ECW)
and all others similarly situated,

                     Plaintiff,

v.                                                             ORDER

DAP PRODUCTS, INC.,

                     Defendant.


      David A. Goodwin, Daniel E. Gustafson, Daniel C. Hedlund, and Kaitlyn
      L. Dennis, GUSTAFSON GLUEK PLLC; Brian C. Gudmundson, Michael J.
      Laird, and Rachel K. Tack, ZIMMERMAN REED LLP, for plaintiff.

      Russell S. Ponessa and Anju Suresh, HINSHAW & CULBERTSON LLP;
      Charles W. Steese, Ijay Palansky, Alec Harris, and Amber Gonzales,
      ARMSTRONG TEASDALE, LLP, for defendant.

      This is a putative class action brought by plaintiff Brandon Ehlis against

defendant DAP Products, Inc. (“DAP”). Ehlis alleges that he bought a tube of DAP 3.0

Crystal Clear Kitchen, Bathroom, and Plumbing Sealant and that, even though DAP had

represented that the sealant was “crystal clear,” the sealant turned yellow sometime

after Ehlis used it. Ehlis brings a host of fraud and warranty claims against DAP, some

under Maryland law, and others under Minnesota law. DAP now moves to dismiss

Ehlis’s complaint.
         CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 2 of 6




       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a complaint must

“state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although the factual

allegations in the complaint need not be detailed, they must be sufficient to “raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555.

       Claims sounding in fraud are subject to the heightened pleading requirement of

Fed. R. Civ. P. 9(b). To assert a fraud claim with the particularity required under

Rule 9(b), a complaint must allege in detail “the who, what, when, where, and how” of

the fraud. Parnes v. Gateway 2000, Inc., 122 F.3d 539, 550 (8th Cir. 1997) (quotations and

citation omitted). “[C]onclusory allegations that a defendant’s conduct was fraudulent

and deceptive are not sufficient to satisfy the rule.” Com. Prop. Invs., Inc. v. Quality Inns

Int’l, Inc., 61 F.3d 639, 644 (8th Cir. 1995).

       Ehlis’s complaint falls well short of these standards, as it is woefully devoid of

factual allegations. To cite just some of the most glaring omissions:

       1.      Ehlis does not identify where he bought the sealant. Ehlis alleges that he
               is a resident of Minnesota and that he “purchased DAP Clear Sealant from
               Home Depot.” ECF No. 1 ¶ 6. But he does not say whether he ordered
               the sealant from Home Depot online or instead purchased the sealant at a
               Home Depot store. And he does not identify the location (even the state)
               of any Home Depot store that he visited.


                                                 -2-
        CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 3 of 6




      2.     Ehlis does not identify when he bought the sealant, other than to say that
             he bought the sealant “within the Class Period.” Id. Given that the Class
             Period is identified as “from August 31, 2014 until the present,” id. ¶ 26,
             Ehlis has not even identified the year in which he bought the sealant.

      3.     Ehlis alleges that he was misled by a representation that the sealant was
             “crystal clear,” id. ¶ 19, but he does not provide any information about
             that representation. Ehlis generally alleges that DAP represents that its
             sealant is “crystal clear” “on its packaging, in advertising, in its technical
             product bulletins, and in information displayed to customers on its
             website.” Id. ¶ 4. But Ehlis does not identify the source or sources of the
             representation that he read or heard; he does not, for example, allege that
             he relied on a representation on a package, or in an advertisement, or on
             DAP’s website, or in a “technical product bulletin.”

      4.     Ehlis does not identify where he was misled. He does not even identify
             the state in which he read or heard the allegedly fraudulent
             representation.

      5.     Ehlis does not identify when he was misled. He does not explain whether
             he read or heard the allegedly fraudulent representation moments before
             he bought the sealant or instead some days, weeks, months, or years
             earlier.

      6.     Ehlis does not identify where he used the sealant and thus was allegedly
             damaged by the misrepresentation. He does not even identify the state in
             which he used the sealant.

      7.     Ehlis does not identify when the sealant yellowed or when he discovered
             that the sealant had yellowed, aside from his general statement that the
             “sealant yellowed after several months of the sealant’s application,” id.
             ¶ 19—and thus he does not identify when he knew or had reason to know
             that DAP had misled him or breached warranties that it made to him.

      To be clear, the Court is not holding that all of this information must be alleged

in order for Ehlis to plead a single plausible claim. The Court is holding that, because



                                            -3-
          CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 4 of 6




none of this information was alleged, Ehlis has not pleaded a single plausible claim. The

allegations of the complaint leave the Court without a basis even to identify which

state’s law applies to Ehlis’s claims, much less to determine whether any of those claims

are plausible under the applicable state law.

      All of the missing information identified by the Court is presumably within the

knowledge of Ehlis, and all of it could have been provided in a brief paragraph or two

in the complaint. The Court cannot fathom why Ehlis would not include these

rudimentary factual allegations in his 32‐page, eight‐count complaint. Nor can this

Court fathom why Ehlis would not voluntarily file an amended complaint after these

obvious deficiencies were (presumably) brought to his attention during the meet‐and‐

confer session with DAP. Adding a paragraph or two of facts to the complaint is a lot

easier than drafting a 37‐page brief defending the adequacy of an obviously inadequate

complaint.1


      1
       In his brief, Ehlis says:

              Plaintiff at all times could allege that: (1) Plaintiff resides in
              Minnesota; (2) DAP advertises, markets, and sells the Sealant
              in Minnesota; (3) Plaintiff purchased the Sealant in
              Minnesota; (4) Plaintiff applied the Sealant in his home in
              Minnesota; (5) the Sealant turned from clear upon
              application to yellow shortly thereafter in Plaintiff’s
              Minnesota home . . . .

ECF No. 26 at 17. But what matters when a court must rule on a Rule 12(b)(6) motion is
                                                                         (continued...)

                                             -4-
           CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 5 of 6




       Because of the paucity of factual allegations, none of the claims in the complaint

meet “the threshold requirement of Rule 8(a)(2) that the ‘plain statement’ possess

enough heft to ‘sho[w] that the pleader is entitled to relief,’” Twombly, 550 U.S.

at 557—much less the more demanding requirement of Rule 9(b) that the plaintiff “state

with particularity the circumstances constituting fraud or mistake.” The Court

therefore grants DAP’s motion to dismiss. But because this case is in its infancy—and

because many of the complaint’s deficiencies appear to be easily curable—the Court

will stay its order dismissing this lawsuit for 21 days to give Ehlis a chance to move to

amend his complaint. The Court warns Ehlis that it will not provide a second such

opportunity—and thus, if Ehlis does draft a proposed amended complaint, he would be

well‐advised to include all of the missing factual information identified by the Court

and to be as specific as possible.

                                          ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:




       1
        (...continued)
not what the plaintiff could have alleged but what the plaintiff did allege. Here, Ehlis
did not allege that he “purchased the Sealant in Minnesota,” that he “applied the Sealant
in his home in Minnesota,” or that “the Sealant turned from clear upon application to
yellow shortly thereafter in Plaintiffʹs Minnesota home.”

                                            -5-
       CASE 0:20-cv-01872-PJS-ECW Doc. 31 Filed 01/11/21 Page 6 of 6




     1.     Defendant DAP Products, Inc.’s motion to dismiss [ECF No. 15] is

            GRANTED.

     2.     Plaintiff Brandon Ehlis’s complaint [ECF No. 1] is DISMISSED WITHOUT

            PREJUDICE.

     3.     Entry of judgment is STAYED until February 1, 2021 so that Ehlis may

            move pursuant to Fed. R. Civ. P. 15(a)(2) and Local Rule 15.1 for leave to

            file an amended complaint. Any such motion will be considered by

            Magistrate Judge Elizabeth Cowan Wright in the first instance.

     4.     If Ehlis does not file a motion for leave to file an amended complaint by

            February 1, 2021, or if Ehlis’s timely‐filed motion is denied, judgment will

            be entered pursuant to this order.


Dated: January 11, 2021                     s/Patrick J. Schiltz
                                            Patrick J. Schiltz
                                            United States District Judge




                                          -6-
